                           UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF MISSOURI
                                     CENTRAL DIVISION
ANTHONY WILSON KINGSBERRY,                             )
                                                       )
           Movant,                                     )
                                                       )        Case No. 16-04166-CV-C-BP
           vs.                                         )        Crim. No. 93-04009-01-CR-C-BP
                                                       )
UNITED STATES OF AMERICA,                              )
                                                       )
           Respondent.                                 )

                             ORDER DISMISSING CASE WITHOUT PREJUDICE

           Movant, who currently is confined at the USP Hazelton in Bruceton Mills, West Virginia, has

filed a motion to vacate, set aside, or correct his sentence in the above-numbered criminal case pursuant

to 28 U.S.C. ' 2255. As set forth in Respondent’s response, Movant has filed a previous motion

pursuant to 28 U.S.C.§ 2255, see \ Kingsberry v. United States, No. 97-4115-CV-W-SOW (W.D. Mo.

1997),1 which was denied as without merit. In the present case, Movant argues that he is entitled to

relief pursuant to the United States Supreme Court’s decision in Johnson v. United States, 135 S. Ct.

2551 (2015). Doc. 1.2

           Before the district court may consider a second or successive motion for relief under Section

2255, the prisoner “shall move in the appropriate court of appeals for an order authorizing the district

court to consider the [motion].” 28 U.S.C. § 2244(b)(3)(A); see also 2255(h)(1) and (2). Because

Movant has not obtained the required authorization from the United States Court of Appeals for the

Eighth Circuit, this case must be dismissed, without prejudice, for lack of jurisdiction.




1
    Respondent lists three other Section 2255 motions filed by Movant that have been denied as successive. Doc. 11, pp. 3-4.
2
 Although counsel initially was appointed to represent Movant, counsel was permitted to withdraw after reviewing Movant’s
case and finding that Movant is not entitled to relief under Johnson. Docs. 2, 3, 5.



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       Accordingly, it is ORDERED that:

       (1) Movant’s motion for an extension of time to file a reply (Doc. 13) is denied as moot; and

       (2) this case is dismissed, without prejudice, for lack of jurisdiction pursuant to 28 U.S.C. '

2244(b)(3)(A) and 28 U.S.C. ' 2255.

                                                    /s/ Beth Phillips_________________
                                                    BETH PHILLIPS
                                                    UNITED STATES DISTRICT JUDGE

Kansas City, Missouri,

Dated: November 2, 2016 .




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